Case 3:20-cv-00547-MMH-MCR Document 54 Filed 05/25/22 Page 1 of 7 PageID 267




 UNITED STATES DISTRICT COURT MIDDLE DISTRICT OF FLORIDA
                  JACKSONVILLE DIVISION

JAWANDA DOVE,

       Plaintiff,                           Case No.: 3:20-cv-547-J-34MCR

v.

FLAGLER COUNTY SCHOOL BOARD,

       Defendant.

____________________________________/

     DEFENDANT’S REPLY TO PLAINTIFF’S AMENDED RESPONSE TO
          DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
             AND SUPPORTING MEMORANDUM OF LAW

       COMES NOW, Defendant, FLAGLER COUNTY SCHOOL BOARD, by

and through undersigned counsel, and pursuant to Fed. R. Civ. P. 56 and Local Rule

3.01(d), hereby submits this Reply to Plaintiff’s Amended Response to Motion for

Summary Judgment and Supporting Memorandum of Law, and in support states as

follows:

                             I. INTRODUCTION

       The Court should reject Plaintiff’s Amended Response [Doc. 52] and grant

summary judgment in favor of Defendant as a matter of law because no reasonable

jury could conclude that Plaintiff has established a prima facie case of race and

national origin discrimination predicated on Defendant’s decision not to promote




                                        1
Case 3:20-cv-00547-MMH-MCR Document 54 Filed 05/25/22 Page 2 of 7 PageID 268




Plaintiff, nor that Defendant’s legitimate, nondiscriminatory reasoning for not

selecting Plaintiff for promotion was instead pretext for discrimination.

                            A. Plaintiff Has No Direct Evidence

         Plaintiff admits that she has no evidence of direct evidence to establish a prima

facie case of race or national origin discrimination. [Doc. 52, p. 2]. This Court should

therefore grant summary judgment in favor of Defendant on the issue of Plaintiff’s

burden to produce direct evidence of discrimination pursuant to E.E.O.C. v. Joe’s

Stone Crab, Inc., 220 F.3d 1263, 1286 (11th Cir. 2000).

                     B. Plaintiff Failed to Attach Referenced Exhibit

         Plaintiff’s Response alleges that she “applied for several different positions

during her time as an employee of the Defendant (Please see attached Exhibit “A”).”

[Doc. 52, p. 3]. However, Plaintiff failed to attach any Exhibits to her Response, and

therefore this allegation should be disregarded.

         C. Defendant is Not an Executive Agency Per § 110.112, Fla. Stat.

         Plaintiff is incorrect as to her allegation that “Defendant has not established

that they have an affirmative action plan consistent with portions of F.S. 110-112

(2)(a)1 regarding selection of its employees for promotion in this matter was fair

does not exist [sic]”, notwithstanding that Defendant has no legal or judicial



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    Plaintiff appears to have made a scrivener’s error in that said citation to “F.S. 110-112 (2)(a)”
    contextually seems to mean § 110.112(2)(a), Fla. Stat. [Doc. 52, p. 3].


                                                  2
Case 3:20-cv-00547-MMH-MCR Document 54 Filed 05/25/22 Page 3 of 7 PageID 269




obligation to make such a showing in this lawsuit. [Doc. 52, p. 3]. In pertinent part,

§ 110.112(2), Fla. Stat., states:

          (a) The head of each executive agency shall develop and implement
              an affirmative action plan…

          (b) Each executive agency shall establish annual goals for ensuring
              full utilization of groups underrepresented in the agency’s
              workforce, including women, minorities, and individuals who
              have a disability, as compared to the relevant labor market, as
              defined by the agency. Each executive agency shall design its
              affirmative action plan to meet its established goals.

      Defendant is not an “executive agency” under § 110.112, Fla. Stat.; it

reasonably appears that Plaintiff is confusing Defendant with the “executive agency”

that is the Florida State Board of Education (“SBOE”) pursuant to § 1001.01, Fla.

Stat. The Florida Department of Education (“FLDOE”) is an administrative and

supervisory agency under the direction of the SBOE pursuant to § 1001.20(1), Fla.

Stat. Defendant is the “district unit” of the FLDOE for Flagler County pursuant to §

1001.30, Fla. Stat., and as such all the actions of Defendant are “consistent and in

harmony with state laws and with rules and minimum standards of the [SBOE]”

pursuant to § 1001.32(1), Fla. Stat. Defendant upholds and abides by the equal

employment requirements of the FLDOE pursuant to Rule 6A-19.009, F.A.C.,

including as to the affirmative action plan adopted by the SBOE pursuant to Rule

6A-19.009(6), F.A.C.




                                          3
Case 3:20-cv-00547-MMH-MCR Document 54 Filed 05/25/22 Page 4 of 7 PageID 270




       D. Plaintiff Does Not Have a Contradictive Supporting Affidavit

      Defendant’s Motion for Summary Judgment includes a supporting Affidavit

executed by Jewel Johnson, the Chief Human Resources Officer for Defendant.

[Doc. 37, Ex. “A”]. Plaintiff’s Amended Response does not include or refer to any

supporting affidavit to contradict or dispute the material facts of Defendant’s

supporting Affidavit. [Doc. 52]. This Court should grant summary judgment against

Plaintiff for her failure to contradictorily aver against Defendant’s supporting

Affidavit.

      “Given the opportunity to respond to a movant's affidavits, an adverse party

may not rest upon a mere cryptic and conclusory allegation in his pleading but must

set forth specific facts showing that there is a genuinely disputed factual issue for

trial. Where this opportunity to supplement the record is ignored, summary judgment

for the movant who has carried his burden of proof is appropriate. See First National

Bank v. Cities Service Co., 391 U.S. 253, 88 S.Ct. 1575, 20 L.Ed.2d 569 (1968);

Tripoli Co., Inc. v. Wella Corp., 425 F.2d 932 (3d Cir. 1970); … To oppose [the

movant’s] motion successfully, [the adverse party] had the obligation to show, by

affidavit or other sworn testimony, those material facts which he claimed were in

dispute and which he alleged denied him the right to a fair trial. His failure to do so

fully justified the district court's grant of summary judgment.” Tunnell v. Wiley, 514

F.2d 971, 976 (3rd Cir. 1975) (other citations omitted). See also Lockhart v.



                                          4
Case 3:20-cv-00547-MMH-MCR Document 54 Filed 05/25/22 Page 5 of 7 PageID 271




Hoenstine, 411 F.2d 455, 459 (3rd Cir. 1969) (“On the critical issue … there was an

affidavit from the one person who would have personal knowledge of this fact pitted

against a naked denial fortified by no factual averments. …[W]e conclude that the

district court was correct in determining that there was no genuine issue of material

fact.”).

             E. Plaintiff’s Insufficient Allegations and Conclusions

       Plaintiff’s Response contains several allegations and conclusions which are

insufficient to rebut Defendant’s Motion for Summary Judgment, particularly as

they are compounded by Plaintiff’s failure to contradictorily attest against

Defendant’s supporting Affidavit. This Court should disregard Plaintiff’s contention

that Defendant’s attested-to “references to [Plaintiff] not interviewing well … do not

successfully rebut Plaintiff’s burden in this case.” Plaintiff admits that such “subject

evaluations play an important and legitimate part in an employee’s [sic] evaluation

of potential employees.” [Doc. 52, p. 3]. Such a poor interpersonal skill is sufficient

to establish a legitimate nondiscriminatory reason to reject Plaintiff. [Doc. 37, p. 14].

Plaintiff did not attempt to explain or offer any evidence in her Response to meet

her burden to show that Defendant’s determination she interviewed poorly was mere

pretext for discrimination.

       Plaintiff alleges that it is “illogical” and that Defendant “offers no legal

authority” to support that it “would not continuously employ Plaintiff since 2006 but



                                           5
Case 3:20-cv-00547-MMH-MCR Document 54 Filed 05/25/22 Page 6 of 7 PageID 272




then reject her applications for other positions because of that same protected class

status”. [Doc. 52, ps. 2-3]. Defendant’s decision to hire, and continuously employ

Plaintiff is both reasonable and non-discriminatory. So too are Defendant’s reasons

for not promoting Plaintiff. Those reasons are not pretextual. This is demonstrated

by Defendant’s list of eight (8) current administrative/leadership employees all of

the same protected class of Plaintiff as set forth it its Motion and affirmed in the

supporting Affidavit. [Doc. 52, ps. 10-11; Ex. “A,” para. 11].

                                IV. CONCLUSION

      WHEREFORE, Defendant, FLAGLER COUNTY SCHOOL BOARD,

respectfully submits that the Court should grant Defendant’s Motion for Summary

Judgment and dismiss Plaintiff’s action in its entirety.




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                                          6
Case 3:20-cv-00547-MMH-MCR Document 54 Filed 05/25/22 Page 7 of 7 PageID 273




                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 25th day of May, 2022, a true and correct

copy of the foregoing, Defendant’s Reply to Plaintiff’s Amended Response to

Defendant’s Motion for Summary Judgment and Supporting Memorandum of Law,

was electronically filed with the Clerk of the Court by using the CM/ECF system,

which will send a notice of filing via electronic mail to: Blair Jackson, Esq., Law

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                                        7
